          Case 1:22-mc-00100-BAH Document 9 Filed 11/15/22 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

IN RE APPLICATION OF THE NEW
YORK TIMES CO. AND CHARLIE                        Miscellaneous Case No. 22-100 (BAH)
SAVAGE FOR ACCESS TO CERTAIN
DOCKETS, ORDERS, LEGAL                            (consolidated with No. 22-104)
BRIEFING, AND ARGUMENT
TRANSCRIPTS ANCILLARY TO                          Chief Judge Beryl A. Howell
JANUARY 6 GRAND JURY
PROCEEDINGS


                                            ORDER

       Upon consideration of the United States’ Motion for Leave to File Under Seal, ECF No.

7, it is hereby—

       ORDERED that the government’s Motion is GRANTED IN PART AND DENIED IN

PART; it is further

       ORDERED that the following documents shall be filed under seal and ex parte until

otherwise ordered by the Court: the United States’ Memorandum in Opposition to the

Application of the New York Times Co. and Charlie Savage for Access to Certain Dockets,

Orders, Legal Briefing, and Argument Transcripts Ancillary to January 6 Grand Jury

Proceedings; and the United States’ Motion to Seal; and it is further

       ORDERED that the government’s motion is DENIED to the extent it seeks to file the

instant Order under seal.

       SO ORDERED.

       Date: November 15, 2022
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                                                     BERYL A. HOWELL
                                                     Chief Judge
